USDC IN/ND case 1:24-cv-00239-PPS-APR                 document 1-13 EXHIBIT     M
                                                                     filed 06/07/24             page 1 of 1




                               BRIDGE LETTER OF AGREEMENT


                                                                                  January 11th, 2021

  Dr. Matt Lucas, Chancellor IWU National & Global
  Indiana Wesleyan University
  4201 S Washington St,
  Marion, IN 46953


  Dear Matt,

  This Letter of Agreement is intended to document and be a binding agreement to accept a bridge loan
  of one hundred and twenty-five thousand dollars ($125,000.00) to cover additional time needed in
  order to raise funds pursuant to our joint Educational Services Platform Strategic Development,
  Licensing & Cooperation Agreement effective on April 15 th of last year.

  Both parties continue to work together and separately to raise funds, bring together partnerships, and
  complete strategic deals in Ethiopia and other countries in order to fully fund our joint agreement.
  There are several of these efforts that are expected to yield significant funds in the coming weeks.

  IWU hereby agrees to provide the bridge loan upon the signature of this Bridge Letter of Agreement.
  The total bridge funding to this point is one million six hundred and twenty-five thousand dollars
  ($1,625,000.00).

  Olé Holdings herby agrees to repay the bridge loan upon receiving funding from any source by January
  31st 2021.

  We are excited to see what this collaboration means to our future collaboration for the Kingdom!

  Sincerely offered and accepted by:




  ___________________________                             ___________________________

  Dalen Harrison, CEO                                     Nancy D Schoonmaker, EVP & CFO
  Olé Holdings, Inc.                                      Indiana Wesleyan University National & Global
